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                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF SOUTH DAKOTA

                                       CENTRAL DIVISION


  UNITED STATES OF AMERICA,                                        3:20-CR-30016-RAL

                         Plaintiff,

                                                         OPINION AND ORDER ADOPTING
         vs.                                           REPORT AND RECOMENDATION AND
                                                        GRANTING MOTION TO SUPPRESS
  MARECA RODRIQUEZ,

                         Defendant.




        A federal grand jury indicted Mareca Rodriquez (Rodriquez) for conspiracy to distribute a

 controlled substance in violation of 18 U.S.C. §§ 846, 841(a)(l), and 841(b)(l)(A). Doc. 1.

 Rodnquez moved to suppress evidence seized in her home under an initial tribal search warrant

 on the basis that the search violated the Fourth Amendment. Docs. 24, 25. She also moved to


 suppress evidence seized in her home under a second tribal search warrant as well as statements


 she made in a post-arrest interview as being fmit of the poisonous tree. Docs. 24, 25.


        Magistrate Judge Mark A. Moreno held a suppression hearing during which he received 11

exhibits and heard testimony from four witnesses: Sergeant Bryan Waukazoo, Officer Reymond

Peters, Special Agent Benjamin Estes, and Judge William Bossman. Doc. 33; Mot. Hr'g Tr. at 2-


3. Thereafter, Judge Moreno issued a Report and Recommendation recommending that the motion


to suppress be granted in its entirety. Doc. 40. The Government has filed an objection to that Report

and Recommendation. Doc. 41.
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         This Court reviews a report and recommendation under 28 U.S.C. § 636(b)(l), which

 provides in relevant part that "[a] judge of the [district] court shall make a de novo determination

 of those portions of the report or specified proposed findings or recommendations to which

 objection is made." However, "[i]n the absence of an objection, the district court is not required

 'to give any more consideration to the magistrate's report than the court considers appropriate.'"


 United States v. Murillo-Fieueroa, 862 F. Supp.2d 863. 866 (N.D. Iowa 2012) fquoting Thomas

 v. Am, 474 U.S. 140, 150 (1985)). Having conducted a de novo review of those portions of the

 Report and Recommendation to which the Government objects, this Court adopts the Report and

 Recommendation in its entirety.


     I. Discussion


     A. Lacking in Indicia of Probable Cause

        The Government does not object to Judge Moreno's finding that the initial tribal search

 warrant was not supported by probable cause. Rather, the Government objects to Judge Moreno's


 conclusion that the Lean good-faith exception does not apply. "Under the Lean good-faith

 exception, disputed evidence will be admitted if it was objectively reasonable for the officer

 executing a search warrant to have relied in good faith on the judge's determination that there was

 probable cause to issue the warrant." United States v. Grant, 490 F.3d 627, 632 (8th Cir. 2007)

 (citing United States v. Lean, 468 U.S. 897, 922 (1984)). However, the exception does not apply

 when the warrant is "so lacking in indicia of probable cause as to render official belief in its

 existence entirely unreasonable." Leon, 468 U.S. at 923 (quoting Brown v. Illinois, 422 U.S. 590,


 610-11 (1975) (Powell, J., concurring in part)); see also United States v. Dickerman, 954 F,3d

 1060, 1065 (8th Cir. 2020) ("The good-faith inquiry is confined to the objectively ascertainable

 question [of] whether a reasonably well trained officer would have known that the search was
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 illegal despite the issuing judge's authorization." (citation omitted)). In determining whether it was

 objectively reasonable for the officer to rely on the validity of the warrant, courts "can look outside

 the four comers of the affidavit and consider the totality of circumstances, including what the

 officer knew but did not include in the affidavit." Dickerman, 954 F.3d at 1065 (quoting United

 States v. Fariee, 757 F.3d 810, 819 (8th Cir. 2014)).

         The Government points to several facts to support its argument that the Leon good-faith

 exception applies. However, none of these facts connect the suspected criminal activity to


 Rodriquez's home. First, the Government highlights Special Agent Estes's testimony that four

 grams of methamphetamine—the amount of methamphetamine found in the vehicle driven by

 Rodriquez's juvenile sister—is a distributable amount. Mot. Hr'g Tr. at 44, 57. However, this fact


 by itself merely suggests that someone is distributing methamphetamine; it does not suggest that

 Rodriquez herself (who loaned the car to her sister) was distributing methamphetamine or that

 there would be evidence of distribution in her home. In fact, Officer Waukazoo admitted that at

 the time of the stop he did not know to whom the drugs belonged because when asked whether her

 older sister used dmgs, Rodriquez's juvenile sister simply shrugged her shoulders which Officer

 Waukazoo interpreted as, "I don't know." Mot. Hr'g Tr. at 19-20, 24,33-34. And at no point did


 Officer Waukazoo ever ask the juvenile sister ifRodriquez dealt drugs. Mot. Hr'g Tr. at 33-34.

        The facts of this case are distinguishable from the facts in United States v. Moya, 690 F.3d

 944, 948 (8th Cir. 2012) to which the Government cites. In that case, the Eighth Circuit stated that

 an "officer and issuing judge may infer that evidence of drug trafficking exists at the home of a

 person arrested in possession ofdmgs with intent to distribute." Id But unlike in Moya, the dmgs

 here were not found near Rodriquez's person or in her possession. Rather, the dmgs were found
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 in a vehicle of which she was not an occupant, and the officers were not aware as to how recently


 Rodriquez had access to the vehicle.

         Second, the Government argues that because the methamphetamine was found in plain

 view on the floorboard between the driver's seat and driver's door, Mot. Hr'g Tr. at 9, 19, this


 suggests that "the methamphetamme had not lingered there a long time." Doc. 41 at 6. While that

 may be tme, this does not further the Government's cause. If anything, such a recent placement of


 the methamphetamine in the car would suggest that it belonged to a current occupant of the vehicle,

 and Rodriquez's juvenile sister was the driver and only occupant when the vehicle was stopped.

 In sum, the floorboard placement of the methamphetamine does not connect it to Rodriquez's

 home.


         Finally, the Government contends that the presence of other items of dmg paraphernalia,

 Mot. Hr g Tr. at 12, indicates that "the presence ofmethamphetamine in the vehicle was also not

 a fluke or something left on accident by a visitor, but an indicator of the vehicle owner's

 involvement with narcotics." Doc. 41 at 6. Again, the presence of the dmg paraphernalia by itself


 merely suggests that someone is involved with methamphetamine use and possibly distribution.

 The dmg paraphernalia does not necessarily indicate that Rodriquez, as the owner of the vehicle,

 was distributing dmgs from home, especially since the officers had no idea how recently Rodriquez

 had access to the vehicle. Further, the dmg paraphernalia was found in the center console, and


 therefore like the methamphetamine, was within reach of the driver. Mot. Hr'g Tr. at 12. That

 Rodriquez's juvenile sister said she borrowed the vehicle from Rodriquez and that perhaps one of

 the marijuana roaches belonged to Rodriquez is insufficient for the officers to conclude that the

 evidence in the vehicle was connected to Rodriquez's home.
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         Rather than restating all the reasons why and the authority for not applying the Leon good-

 faith exception, this Court attaches the Report and Recommendation and incorporates its findings

 herein. Judge Moreno properly concluded that the search warrant was so lacking in indicia of

 probable cause that the officers' belief that the warrant was valid was objectively unreasonable.

 Judge Moreno fully and appropriately addressed this issue in his Report and Recommendation.

     B. Abandonment of Judicial Duties

         But even if this Court assumes that the officers were objectively reasonable in their belief

 that the warrant was valid, the Lean good-faith exception still cannot apply when "the issuing

 magistrate wholly abandoned his judicial role." Leon, 468 U.S. at 923. "A warrant may be issued

 only by an official who is 'neutral and detached' and 'capable ofdeterminmg whether probable

 cause exists for the requested arrest or search.'" Farlee, 757 F.3d at 819 (quoting Shadwick v. City

 ofTampa, 407 U.S. 345, 350 (1972)). A warrant issued by a neutral and detached judicial officer

 is "a more reliable safeguard against improper searches than the hurried judgment of a law

 enforcement officer engaged in the often competitive enterprise of ferreting out crime." Lo-Ji

 Sales. Inc. v. New York, 442 U.S. 319, 326 (1979) (cleaned up and citation omitted).

        "A judge abandons his or her judicial role when he or she does not serve as a neutral and

 detached actor, but rather as a mbber stamp for the police and an adjunct law enforcement officer."


 United States v. Ortiz-Cervantes, 868 F.3d 695, 703 (8th Cir. 2017) (cleaned up and citation

 omitted). The Eighth Circuit has held that a judge abandoned his neutral and detached function

 when he signed a search warrant without reading it and failed to notice that the prosecutor had not

 signed the warrant as required by state law and that the warrant did not list the property to be

 seized.'United States v. Decker, 956 F.2d 773, 777 (8th Cir. 1992). The Supreme Court has also

 found violations where the judge possessed a pecuniary interest in issuing the warrant, see
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 Connally v. Georgia, 429 U.S. 245, 251 (1977) (per curiam), and where the judge actively

 participated in the police investigation, see Lo-Ji Sales, 442 U.S. at 327-28. See also United States

 v. Hallam, 407 F.3d 942, 946 (8th Cir. 2005) (acknowledging that a "magistrate's relative silence

 . . . might tend to show that he was acting as a 'mere rubber stamp,'" but ultimately findmg no


 violation because "[t]here was no indication that the magistrate was biased or impartial, nor is

 there any evidence of a pattern of passive, automatic issuance of warrants")


         The Government objects to Judge IVIoreno's conclusion that the tribal judge, Judge William

 Bossman, abandoned his duties and acted as a mere rubber stamp for tribal police. Although the

 government concedes that the tribal judge came to the wrong legal conclusion in determining

 whether there was probable cause to support the warrant, the Government argues that nonetheless


 he did not abandon his duties because he read the affidavit and was unfamiliar with Rodriquez and

 not involved in the investigation. Mot. Hr'g Tr. at 93-94. However, as Judge Moreno found, there


 were other facts to suggest that he had abandoned his judicial duties. In particular, the tribal judge

 testified that he did not abide by the Fourth Amendment requirement for a warrant to be supported

 by oath and affirmation and did not ask Officer Peters any questions about the affidavit. Mot. Hr'g

 Tr. at 94. He also testified that in his three and a half years as a tribal judge, he had never declined

 to issue a warrant in its entirety, and he had only asked the officers additional questions or asked

 them to reward the affidavit or gather more information "once or twice." Mot. Hr'g Tr. at 91,97.


 These facts, along with the many other facts that Judge Moreno highlights in his Report and

 Recommendation, see Doc. 40 at 17-21, reveal a pattern of "passive, automatic issuance of


 warrants." Hallam, 407 F.3d at 946. Thus, Judge Moreno properly concluded that the Leon good-


 faith exception did not apply because, in the alternative, the tribal judge abandoned his judicial
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 duties. Judge Moreno fully and appropriately addressed this issue in his Report and

 Recommendation.


     II. Conclusion


         For the foregoing reasons, it is hereby

         ORDERED that the Government's Objection to the Report and Reccomendation, Doc. 41,

 is overruled. It is further


         ORDERED that the Report and Reccomendation For Disposition of Motion to Suppress,

 Doc. 40, is adopted and attached hereto. It is further

         ORDER that Rodriquez's Motion to Suppress, Doc. 24, is granted.

         DATED this \^ day of October, 2020.

                                               BY THE COURT:


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                                               ROBERTO A. LANGE
                                               CHIEF JUDGE
